                          ZOOM VIDEOCONFERENCE

                                                                    13
·1··education.

·2··Q· ··Okay.··All right.··So, Ms. Hinely, where are you presently

·3··employed?

·4··A· ··Karas Correctional Health.

·5··Q· ··Do you do any work at Karas Health Care?

·6·· · · · · · · ··MR. MOSLEY:··Object --

·7··A· ··I do on occasion.

·8·· · · · · · · ··MR. MOSLEY:··-- to form.

·9··Q· ··(By Mr. Smith)··You can answer, Ms. Hinely.

10··A· ··Okay.

11·· · · · · · · ··MR. MOSLEY:··She did.

12··Q· ··(By Mr. Smith)··Sorry.··I didn't hear.··Could you repeat

13··that?

14··A· ··Sure.··I do on occasion, but it would be -- it would be

15··rare because they have their own staff.··But just like

16··Dr. Karas comes to the jail and works at the clinic, there's no

17··reason I can't do that.

18··Q· ··So you're not an employee of Karas Health Care, but you

19··may from time to time do work there as needed.··Is that kind of

20··what you're saying?

21··A· ··Sure.··I could in an emergency or -- or during times of

22··short-staffing.··There's nothing that prevents me from doing

23··that with my licensure.

24··Q· ··Understood.··Understood.··And when did you start working

25··at Karas Correctional Health?



                              WAID REPORTING
                          ZOOM VIDEOCONFERENCE

                                                                    52
·1··and -- and our staff for that -- for that matter.··I mean,

·2··there's -- my ACLS certification, for example, you have to redo

·3··every two years.··So in the medical field, and I'm sure in your

·4··field, you have to do reeducation just to make sure that you

·5··stay fresh.

·6··Q· ··And who is it that would do the reeducation or the

·7··training during orientation?

·8··A· ··Someone with a license.··So we don't have -- we're very

·9··small.··I don't have a nurse educator.··That would be amazing

10··if I did.··But it could be myself.··It could be -- you know, we

11··had talked about John Beckham.··It could be Kim.··It could be

12··one of the paramedics.··Just somebody who has a license.

13··Q· ··And would it be fair to say that you are in charge of the

14··training if you are creating the materials even if you are not

15··doing the training?

16··A· ··Yes.

17·· · · · · · · ··MR. MOSLEY:··Object to form.

18··A· ··Yes.

19··Q· ··(By Mr. Smith)··Okay.··When Karas Correctional Health

20··started the treatment protocol, was there any retraining

21··related to pill call for the treatment protocol?

22··A· ··I don't recall specifically.··So as I stated, the way that

23··we were doing treatment was changing based on information as it

24··was given to us.··So I do know anytime there's a change,

25··COVID-related, not COVID-related, then there's retraining at



                              WAID REPORTING
                         ZOOM VIDEOCONFERENCE

                                                                    53
·1··that time.··That would be a question specifically for those

·2··individuals because I don't remember.

·3··Q· ··Did you organize any training for the COVID treatment

·4··protocol?

·5··A· ··There would have been verbal interactions and/or -- so the

·6··way we do things in our system -- in our computer system is,

·7··you can create order sets or orders.··Like if a medicine is

·8··part of a protocol -- okay, this is a good example, so I can

·9··explain this to you.··So I think it'll just help you if you

10··understand how we do things.··So people come in the door -- and

11··this is very common in our population -- so there's initial

12··screening before a detainee ever gets into our facility -- we

13··call it a COVID screening -- where we ask them if they've been

14··exposed, if they have a fever.··But that's with a medical

15··professional.··It's a medical person that does that.··And if

16··there's any concerns at that time, we won't accept that person

17··in the door.··They would go to the emergency room for a

18··clearance.

19·· · ··At that time, we identify areas of potential harm to them.

20··We have a lot of people that come in that are under the

21··influence of drugs and alcohol or -- so we flagged those

22··people, and we put them on something called a "detox protocol."

23··So even if they don't ask, we're going to monitor them closely

24··to make sure that they don't go into delirium tremens or they

25··don't have a seizure or things like that.



                             WAID REPORTING
                         ZOOM VIDEOCONFERENCE

                                                                    65
·1··A· ··Yes.

·2··Q· ··So Mr. Wooten weighed 158 pounds on 8/21/2021?

·3··A· ··Correct.

·4··Q· ··Okay.··All right, at the bottom, it says:··"Protocol meds

·5··started.··Placed on review."

·6·· · ··What does it mean by "protocol meds started"?

·7··A· ··So as I described the process to you earlier, we -- like

·8··when I was going over the detox, like the detox that I was

·9··telling you about, so we can build prescription sets in the

10··computer.··So if you go up to the previous line, she works

11··overnight, so it looks like that she documented at 2340.··She

12··was documenting this.··So that's 11:40 p.m.··She was

13··documenting here about COVID-positive, dah, dah, dah, dah.

14·· · ··So then she went back about 30 minutes later.··And in the

15··computer, you can build a prescription set.··So you know how

16··you said, "Do you have written protocols?"··Based on what we

17··were doing at the time, which changed often, you could just

18··pick prescription set.··And then you see it's positive --

19··COVID-positive, so this person was ordered what we were doing

20··at the time, which I want to reiterate changed often.··It would

21··-- it would change it to what we were doing at that time.

22··Q· ··Okay.

23··A· ··And then by pushing prescription set -- so once you push

24··the button "prescription set," then it'll generate the

25··information above it.··So your question was, "What protocol



                             WAID REPORTING
                         ZOOM VIDEOCONFERENCE

                                                                    66
·1··were you using then?"··Well, prescription set, when she pushed

·2··that button, it put these orders right here automatically into

·3··the system for the med passers.

·4··Q· ··Okay.··And so correct me if I'm wrong, but is it -- is it

·5··fair to say that doxycycline, ivermectin, and montelukast,

·6··because they all say "prescription added," is part of this

·7··prescription set that you just described?

·8··A· ··Yes, sir, at that --

·9··Q· ··Okay.

10··A· ··-- at that time, but -- but you can change -- like, it can

11··change.··That's what it was at this time.··So that's a -- that

12··way it gives consistency for people where they're not manually

13··having to enter it every single time.

14··Q· ··Understood.··And --

15··A· ··So it's called a "prescription set."

16··Q· ··Okay.··And I'm going over this document in a little more

17··detail just because I understand -- so I understand what all

18··these sort of input and values mean.··We won't do this for the

19··other one, so I apologize for some of these questions that

20··probably seem very tedious to you.

21·· · ··Okay, so I want to look at "Medication Name:··ivermectin."

22··I want to look at this input right here.

23··A· ··Okay.

24··Q· ··So this says:··"Directions:··PO QD."··I believe that means

25··you take it orally daily, but I could be wrong.



                                WAID REPORTING
                            ZOOM VIDEOCONFERENCE

                                                                    68
·1··A· ··If you want to look at the next one just for contrast:

·2··doxycycline -- go down to doxycycline --

·3··Q· ··Right here?

·4··A· ··-- by mouth, BID, which means A.M. and P.M. because we

·5··pass out meds twice a day.··Then he should have got his first

·6··dose or offered his first dose of doxycycline if it was -- if

·7··we had it -- if we had it in stock.··Then it would have been --

·8··the start date would have been 8/22 in A.M.

·9·· · ··We do not have a pharmacy, so we -- we are at the mercy of

10··what supplies we have and is sent to us because we can't -- we

11··don't have a distribution license.··We don't have a pharmacy on

12··site.··Prison systems do, but we do not, so we have to use an

13··outside pharmacy.

14··Q· ··Okay.··And then one more question on this.··It says,

15··"doctor protocol."

16··A· ··Right.

17··Q· ··Does it say that -- you mentioned earlier that it was sort

18··of -- the order was put in automatically in the system.

19··A· ··Right.

20··Q· ··Is that why it says "protocol" right there?

21··A· ··Right.··Which, I told you earlier, Dr. Karas is in charge

22··of all the protocols.

23··Q· ··Okay.

24··A· ··I don't know my interactions with Floreal-Wooten with this

25··particular detention of his.··I do know that I've seen him and



                                WAID REPORTING
                         ZOOM VIDEOCONFERENCE

                                                                    69
·1··treated him as a patient for other medical concerns.··So if you

·2··look through his numerous records, if he was seen for dental

·3··pain, then if I was the provider in charge that day -- like,

·4··say I was there that day or I was seeing patients that day --

·5··instead of it saying "protocol," it would say "Hinely" right

·6··there.

·7··Q· ··Okay.··I understand.··And I think there may be --

·8··A· ··Yeah.··So --

·9··Q· ··-- I think there may be a document like that later on, and

10··we can --

11··A· ··Right.··So --

12··Q· ··-- so --

13··A· ··-- but it's -- it's whomever -- whomever is going to be

14··reviewing -- or the best that they know, whomever is going to

15··be reviewing that, they're -- they're ordering that on

16··Dr. Karas's behalf or on my behalf, you know.

17··Q· ··Okay.··So if I'm understanding correctly, Jo Wilson is

18··ordering a prescription on behalf of either you or Dr. Karas,

19··and that's why it says "protocol"?

20··A· ··Yes.

21··Q· ··Okay.··And I'm going to scroll up really quick to right

22··here.

23·· · ··Okay, so this says "Kelley Hinely" right here, so this was

24··an input from you; is that correct?

25··A· ··Right.··Okay, so we had talked earlier about anytime a



                             WAID REPORTING
                          ZOOM VIDEOCONFERENCE

                                                                   113
·1··A· ··Yes.

·2··Q· ··Okay.··So was there any reason that you didn't mention

·3··that ivermectin had been used on jail patients prior to

·4··July 19th of 2021?

·5··A· ··He didn't ask that question.

·6··Q· ··Okay.

·7··A· ··He asked what was being done currently.··I mean, he didn't

·8··ask -- I mean, he -- if he would have asked, I would have told

·9··him.

10··Q· ··Okay.··And he asked if any federal inmates had received

11··the medicine.

12··A· ··Correct.

13··Q· ··Is that right?

14··A· ··Correct.

15··Q· ··Okay.··How was the protocol on July 19, 2021, different

16··than the months prior to this date?

17·· · · · · · · ··MR. MOSLEY:··Which date?

18··A· ··I -- I don't know because we -- Dr. Karas did not

19··encourage the use as it is listed here -- okay, so this use --

20··until Delta was prevalent in the jail.··And that wasn't

21··identified until, I believe, sometime in the spring of 2021.

22··So that would have been April of '21, I believe, before Delta,

23··back when Mr. Fritch -- which was one of the first -- you know,

24··the first people -- and I explained his situation was unique

25··because he was HIV-positive -- I -- we weren't using it as part



                              WAID REPORTING
                         ZOOM VIDEOCONFERENCE

                                                                   114
·1··of a protocol.··That was a, Hey, Doctor --··you know, what do

·2··we do with someone who's HIV-positive and has -- they're

·3··already immunocompromised?··Is this guy going to die because

·4··now he has this virus that we don't know anything about?

·5·· · ··So this protocol that you refer to, this was -- this is as

·6··it was then.··And that was kind of what -- you'll have to look

·7··back on the FLCC when they actually released a treatment plan,

·8··or a treatment, you know, suggestion, and that was well into

·9··the Delta variant which was in '21.

10··Q· ··(By Mr. Smith)··Okay.··So prior to this July 19th of 2021,

11··would your treatment of COVID-19 have been based on the FLCCC

12··guidance that was then in effect at that time?

13··A· ··I can't say it was based on.··It was a case-by-case basis.

14··We didn't -- I mean, it depended on the presentation of the

15··patient.··It depended on their comorbidities.··It depended on,

16··you know, how high risk they were.··You can look -- you can --

17··you're more than welcome to look through all of our records,

18··and you would probably find very infrequent use of it until we

19··had the Delta variant, until we had some -- some sort of

20··guidance from someone.

21··Q· ··Okay.

22··A· ··So --

23··Q· ··And so you're saying that your --

24·· · · · · · · ··MR. SMITH:··Strike that.

25··Q· ··Prior to your implementation of the protocol, you said



                             WAID REPORTING
                           ZOOM VIDEOCONFERENCE

                                                                   115
·1··that your treatment would depend on -- like it was a

·2··case-by-case determination.

·3··A· ··Yes.

·4··Q· ··And would you use any sources as guidance in sort of

·5··making those determinations?

·6··A· ··Dr. Karas.

·7··Q· ··Okay.··And the FLCCC?

·8··A· ··Yes.

·9··Q· ··Okay.··But you said, ultimately, the treatment would

10··depend on comorbidities, things like that?

11··A· ··Yes.

12··Q· ··And were those considerations documented anywhere?

13·· · · · · · · ··MR. SMITH:··And strike that.··Let me ask --

14·· · · · · · · ··THE WITNESS:··You're going to have to --

15·· · · · · · · ··MR. SMITH:··-- yeah, sure.··Let me ask a better

16·· · · · · ·question.

17··Q· ··(By Mr. Smith)··So I'm trying to figure out what the, I

18··guess, for lack of a better word, protocol treatment regimen

19··was before July 19th of 2021.··That's what I'm kind of trying

20··to figure out.··And you're telling me --

21··A· ··With --

22··Q· ··-- that it -- go ahead.··Well, let me --

23··A· ··No, you finish.

24··Q· ··-- let me finish.··You're telling me that it depends on

25··individual cases, and so I guess I'm trying to figure out what



                               WAID REPORTING
                          ZOOM VIDEOCONFERENCE

                                                                   116
·1··you used in making those individual unique determinations.

·2··A· ··Right.··And I feel like I already answered that, but I'll

·3··answer it again.··It has -- it has to do with the presentation

·4··of the patient, their past medical history, their comorbids,

·5··and collaboration with Dr. Karas.

·6··Q· ··Okay.

·7··A· ··And then you did ask me about documentation.··I felt like

·8··that that was well documented with Fritch.··He had HIV.

·9·· · · · · · · ··MR. SMITH:··All right, I'm going to pull up

10·· · · · · ·Doc. 20.··Or actually I don't think I am.··I think

11·· · · · · ·I'm going to pull up --

12·· · · · · · · ··MS. REYNOLDS:··Ryan, while you think through

13·· · · · · ·that, did we mark that as an exhibit?··Apologies if I

14·· · · · · ·missed it.··Thank you.

15·· · · · · · · ··MR. SMITH:··Yes, this was -- this had been

16·· · · · · ·previously marked as Exhibit 3.

17·· · · · · · · ··Is that right, Amy?

18·· · · · · · · ··THE COURT REPORTER:··Yes.

19·· · · · · · · ··MR. SMITH:··Thank you.

20·· · · · · · · ··MR. MOSLEY:··What is "this"?··What are we

21·· · · · · ·talking about?

22·· · · · · · · ··MR. SMITH:··Just the email that we had just

23·· · · · · ·reviewed.

24·· · · · · · · ··MR. MOSLEY:··Oh, 3 is that a email.··Gotcha.

25·· · · · · · · ··MR. SMITH:··Yes, sir.



                               WAID REPORTING
                         ZOOM VIDEOCONFERENCE

                                                                   125
·1··Because we have categories of -- broad categories, like a

·2··B category is considered to be safe in pregnancy.··So you --

·3··you wouldn't want to use a drug like -- doxycycline use in

·4··pregnancy can cause fetal abnormalities or -- or discoloration

·5··of teeth.

·6·· · ··So you -- you have to look at the benefits versus, I guess

·7··-- I don't know how you say that -- I don't know.··It's

·8··contraindicated.··I don't -- I don't think that that means you

·9··can't use it.··I think that you need to proceed with caution

10··unless there's a documented reason why.

11··Q· ··(By Mr. Smith)··Okay.··So would you prescribe a jail

12··patient a contraindicated medication without explaining

13··potential side effects or potential sort of interactions as

14··you've described them.

15··A· ··If there's a documented FDA contraindication for its use,

16··then I would -- I would tell them that.··I don't make a habit

17··of using contraindicated medicine.

18··Q· ··So -- okay.··If a patient signed this consent for

19··treatment, would they be consenting to contraindicated

20··medications?

21··A· ··I wouldn't use a contraindicated medication.··So this

22··consent, this doesn't give me permission to do whatever I want

23··with no basis.··I don't -- I don't understand the question.··I

24··don't prescribe contraindication medicine -- contraindicated

25··medication or contraindicated treatments.



                             WAID REPORTING
                          ZOOM VIDEOCONFERENCE

                                                                   127
·1··A· ··I would --

·2·· · · · · · · ··MR. MOSLEY:··Object to form:··Asked and

·3·· · · · · ·answered.

·4·· · · · · · · ··THE WITNESS:··Do you want me to answer, Mike?

·5··A· ··-- I don't prescribe contraindicated medicine.··Period.

·6··Q· ··(By Mr. Smith)··Do you believe that the COVID vaccine is

·7··effective?

·8··A· ··I don't know that I have -- I guess -- yes.

·9··Q· ··In your medical opinion, would you recommend a person get

10··the COVID vaccine?

11··A· ··Yes.

12··Q· ··In your experience have people refused the COVID vaccine?

13··A· ··Yes.

14··Q· ··So if a patient that refused the COVID vaccine had signed

15··this consent for treatment, would you still give them the COVID

16··vaccine anyway?

17··A· ··Not without them signing a COVID vaccine consent form

18··because that's standard practice.··You don't give vaccines

19··anywhere without a vaccine-specific consent.··That is standard

20··of practice.··You don't take your child to the pediatrician to

21··get vaccines without signing your consent.

22··Q· ··So am I understanding you -- and correct me if I'm wrong

23··-- but you're saying that there are -- there -- a person has

24··choices about their medical treatment even after they sign this

25··consent to treatment that's on the screen; is that correct?



                              WAID REPORTING
                            ZOOM VIDEOCONFERENCE

                                                                   128
·1··A· ··Sure.··You don't ever -- we don't ever in any setting

·2··force someone to do anything, and that was proven in the

·3··previous exhibits that you showed me when medications were

·4··refused.··Medicines are refused all the time.··Treatments are

·5··refused all the time.

·6·· · ··You know, if you looked back on the record that we were

·7··reviewing, the chart notes, I believe that it was Mr. Little

·8··had put in a -- a request saying that he was having some -- a

·9··medical issue.··Whenever they went to do the sick call, he

10··said, No, he was fine.

11·· · ··So, no, you -- you have free will to accept things or

12··refuse them in any way.··Vaccines were offered, but they --

13··they weren't -- they weren't forced on anyone or -- or

14··anything.··But if you're going to give a vaccine, if the -- if

15··Pfizer is going to provide you one, or Medical Arts isn't going

16··to provide you one, you have to do a consent.··If I go to the

17··pharmacy to get a medicine, I don't sign a consent at that

18··pharmacy to accept that medicine.··So I --

19··Q· ··Okay.··Looking up at the email now.··You mentioned that

20··there's also a COVID-specific treatment consent; is that

21··correct?

22··A· ··Um-hum.··Yes.

23·· · · · · · · ··MR. MOSLEY:··Object to form:··Subsequent

24·· · · · · ·remedial measure.··Object to form:··Settlement

25·· · · · · ·negotiations.··Object to form:··Time.



                                WAID REPORTING
